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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,                    )   Case No.: 1:19-cv-487-LEK-KJM
                                           )   (Copyright)
                    Plaintiff,             )
      vs.                                  )   MEMORANDUM IN SUPPORT OF
                                           )   OBJECTION
  Muhammad Faizan.                         )
                                           )
                    Defendant.             )
                                           )
                                           )

               MEMORANDUM IN SUPPORT OF OBJECTION

 I.     FACTUAL BACKGROUND
        Plaintiff HB Productions, Inc. (“Plaintiff”) filed the First Amended Complaint

 [Doc. #40] (“FAC”) against Defendant Muhammad Faizan (“Defendant”) on Feb.

 14, 2020. Plaintiff alleged in the FAC that Defendant was liable for direct and

 contributory copyright infringement and intentional inducement for distributing

 various illicit file copies of Plaintiff’s motion picture Hellboy from his now defunct

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 websites that operated under the name “MKVCAGE”.               See FAC at ¶¶9, 38.

 Particularly, Plaintiff made the verified allegation that Defendant’s distribution of

 illicit    copies   of   the   motion    picture   under    the   file   names:     (1)

 “Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv” via the Unique Hash

 Number          0550544E834856FC1F012A567388F0307CD8A61A;                 and       (2)

 “Hellboy.2019.1080p.AMZN.WEBRip.DDP5.1.x264-NTG” via the Unique Hash

 Number 18031E80B3360664B3641E1B7952172740AD5A63 had resulted in over

 105,043 infringements worldwide as of Dec. 12, 2019. See Id. at ¶¶83-84, Decl. of

 Arheidt [Doc. #40-7] at ¶¶8-9. Besides these two files, Defendant further copied

 Plaintiff’s Work and distributed it via other files such as: (3) Hellboy (2019) 720p

 BRRip HEVC 750MB; (4) Hellboy (2019) 1080p BRRip 6CH 2.3GB; (5) Hellboy

 (2019) 720p BRRip 1.1GB; (6) Hellboy (2019) 1080p AMZN WEB-DL 6CH

 2.2GB; (7) Hellboy (2019) 1080p WEB-DL 6CH 2GB; and (8) Hellboy (2019) 720p

 WEB-DL. See Decl. of Stephanie Kessner [Doc. #40-5] at ¶10, FAC at ¶90.

           Defendant went about his distribution by first directly copying Plaintiff’s

 motion picture from Blu-ray discs and legitimate streaming sources to create

 illegitimate high quality file copies (including Blu-ray) of the Work. Id. at ¶¶38-40.

 He then created torrent files for his illegitimate file copies and placed them on his

 websites mkvcage.fun and mkvcage.com and other websites such as ibit.uno to be

 available for download freely anywhere in the World. Id. at ¶¶90-91. He seeded


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 file copies of the motion picture on notorious piracy platforms such as 1337x and

 ETTV so that anyone who wished to make a copy could via various swarms using

 the bittorrent protocol. Id at ¶¶86, 89-90. When notified of this lawsuit, Defendant

 double downed on his piracy activities by creating the website mkvcage.nl jointly

 with 1337 Services, LLC. Id at ¶44.

 II.   PROCEDURAL BACKGROUND
       The procedural background is described in pgs. 2-3 of the Recommendation.

 The Clerk entered default against Defendant twice for failing to answer the Complaint

 and the FAC. [Docs. ##24, 43]. Plaintiff withdrew its first Rule 55(b)(1) Motion

 for Clerk to Enter Default Judgment on March 4, 2020 [Doc. #44] on March 25,

 2020 [Doc. #47], and filed a second Rule 55(b)(1) Motion for Clerk to Enter Default

 Judgment (“Motion”) on March 27, 2020 [Doc. #48] requesting the clerk to enter an

 award of damages for the sum certain of $270,224.90. The Motion included an

 affidavit of counsel [Doc. #48-1] that clearly detailed the two steps for the

 calculation of the sum certain reshown below:




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 The two steps include: (1) the addition of the number of confirmed instances of two

 of Defendant’s infringing files; and (2) multiplying the sum by the retail price minus

 taxes and fees ($15.95).

        Despite this clear explanation of the basis for calculation of the sum certain,

 on April 23, 2020 Magistrate Judge Mansfield ordered supplemental briefing to

 explain the Motion’s basis for using a price for a retail store in Kailua-Kona, Hawaii

 as the value of damage [Doc. #50]. Plaintiff provided a supplemental brief on April

 24, 2020 pointing out inter alia that the price of the motion picture in the Motion

 was reflective of the nationwide price and less than the price in Pakistan. See [Doc.

 #51-1] at ¶¶2-6.     On May 18, 2020, Magistrate Judge Mansfield issued the

 Recommendation denying Plaintiffs’ Motion. [Doc. #52].

 III.   LEGAL STANDARD

        When a party objects to a magistrate judge’s findings or recommendations,

 the district court must review de novo those portions to which the objections are

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 made and “may accept, reject, or modify, in whole or in part, the findings or

 recommendations made by the magistrate judge.” See 28 U.S.C. § 636(b)(1); see

 also United States v. Raddatz, 447 U.S. 667, 673 (1980); United States v. Reyna-

 Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003) (en banc) (“[T]he district judge must

 review the magistrate judge’s findings and recommendations de novo if objection is

 made, but not otherwise.”).

 IV.   ARGUMENT

       Plaintiff respectfully requests that the Court review the Recommendation and

 make a de novo determination whether Plaintiff’s requested amount is “a sum certain

 or a sum that can be made certain by computation…” as called for in Fed. R. Civ. P.

 55(b)(1).

 A.    Plaintiff’s requested amount of $270,902.58 is for a sum that can be made

 certain by computation.

       Rule 55(b)(1) includes the alternative language of “a sum certain” or “a sum

 that can be made certain by computation.” Nonetheless, the Recommendation did

 not discuss whether the requested amount was for a sum that can be made certain by

 computation. Rather, the Recommendation only discussed whether the requested

 amount was a sum certain. See Recommendation at pg. 6 (“…fail to persuade the

 Court that Plaintiff’s claims are for a sum certain…”). However, as discussed below

 Plaintiff’s requested amount of $270,902.58 is a sum that can be made certain by the


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 simplest of computation – namely the price to legitimately purchase a copy of the

 motion picture by the number of times Defendant distributed a similar illicit copy of

 the motion picture.

 1.    Defendant is responsible for over 100,000 infringements of Plaintiff’s

 motion picture worldwide.

       The allegations in the FAC are deemed true since Defendant has defaulted.

 See TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987).

 Accordingly, Plaintiff’s verified allegation that Defendant is responsible for over

 100,000 infringing instances of its motion picture worldwide including at least

 16,942 instances of infringements in the United States is deemed true. See FAC at

 ¶¶83-84. The 16,942 number is step one of Plaintiff’s computation of the sum.

 2.    The use of a price of a Blue-ray disc of the motion picture in a Walmart

 store in Kailua-Kona, Hawaii was a fair representation of the price nationwide.

       The Recommendation questions that the price from a Walmart store in Kailua-

 Kona is a fair representation of the nationwide price. Recommendation at pg. 6.

 However, Plaintiff pointed out in the Supplemental Brief that the price of $15.95

 was a fair representation for the nationwide price as of Jan. 22, 2020. [Doc. #51-1]

 at ¶2. In support of this assertion, Plaintiff showed evidence that the price of the

 motion picture in a Walmart store in Kailua-Kona as of the date of the Supplemental

 brief was the same as a price in Walmart store locations in five different regions in


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 the United States, although the price had dropped since the date of the FAC. Id. at

 ¶¶1-2.     Moreover, the file names of Defendant’s illicit copies (“HDRip” and

 “1080p”) that he distributed over 100,000 infringements worldwide show that they

 were Blue-ray versions of the motion picture. Decl. of Arheidt [Doc. #40-7] at ¶¶8-

 9. Accordingly, the nationwide price for a Blu-ray copy of the motion picture is a

 fair indication of the price basis to use for step two in the computation.

          The Recommendation further stated that because the price of the Blue-ray disc

 varies by vendor and date, that “doubt remains as to the amount Plaintiff is entitled

 to…” Recommendation at pg. 7.         However, Plaintiff respectfully submits that the

 key time was the date of the FAC, which is after the two files were distributed more

 than 100,000 times.

 3.       The computation of the requested sum of $270,902.58 is certain.

          Plaintiff’s allegation that the retail price of a Blu-ray copy of the motion

 picture is $15.95 is deemed true. Accordingly, the calculation of 15.95 x 16,942 =

 $270,902.58 is as certain and straight forward calculation that can be done.

 B.       Plaintiff’s requested amount of $270,902.58 is for a sum certain.

          Contrary to the Recommendation, there can be no doubt that Plaintiff is

 entitled to the amount of $270,902.58.

 1.       Plaintiff’s requested sum is certain because no doubt remains.




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       In determining whether a requested amount was a “sum certain”, the Ninth

 Circuit applied the First Circuit test from KPS & Assocs., Inc. v. Designs by FMC,

 Inc. of “a claim is not a sum certain unless no doubt remains as to the amount to

 which a plaintiff is entitled as a result of the defendant’s default.” Franchise Holding

 II, LLC v. Huntington Rests. Grp., Inc., 375 F.3d 922, 928-29 (9th Cir. 2004).

 However, even in KPS, as discussed in Franchise Holding II, the First Circuit

 rejected a claim as not a sum certain because the affidavits and complaint were

 internally inconsistent and did not set forth a claim capable of simple mathematic

 computation. See Franchise Holding II at 929 (citing KPS & Assocs., Inc. v. Designs

 by FMC, Inc., 318 F.3d 1, 20 (1st Cir. 2003)). In comparison to the claim of KPS,

 Plaintiff has set forth a claim that is capable of simple mathematical calculation, each

 step of which is supported in the FAC and the declarations as discussed above.

       The Recommendation cites the portion of the Oregon District Court decision

 in Graham v. Forever Young Or. which states, “…if the ‘sum certain’ cannot be

 calculated reasonably by simple computation, and other evidence is required, then

 the plaintiff must apply to the court for a default judgment pursuant to Rule

 55(b)(2).” Recommendation at pg. 5 (citing Graham v. Forever Young Or., LLC,

 No. 03:13-CV-01962-HU, 2014 WL 3512498, at *1 (D. Or. July 14, 2014)).

 However, in Graham the Court noted that the “…documentary evidence upon which

 [the Plaintiff] relied is not present anywhere in the record.” Graham at pg. 4. In the


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 present case, Plaintiff is relying on the number of instances of infringements in a

 retail price that are both in the record. Accordingly, Graham is not applicable to the

 present case.

       Moreover, there can be no doubt that Plaintiff is entitled to the requested

 amount of $270,224.90 because Plaintiff is entitled to significantly more. The over

 100,000 infringements worldwide includes only two of the eight file names by which

 Defendant distributed Plaintiff’s motion picture. See Decl. of Arheidt [Doc. #40-7]

 at ¶¶8-9, FAC at ¶¶83-84, Decl. of Stephanie Kessner [Doc. #40-5] at ¶10, FAC at

 ¶90. Moreover, Plaintiff limited its damage claim to only the 16,942 instances of

 infringements in the United States (16 percent of worldwide total). Thus, the actual

 damages Defendant caused Plaintiff by his infringing activity are a multitude greater

 than the $270,224.90 requested.

 2.    Defendant has failed to contest any of Plaintiff’s assertions.

       In Franchise Holding II the defaulted defendant had asserted that “the claim

 was not for a “sum certain””. Franchise Holding II at 925. The District Court of

 Arizona and the Ninth Circuit rejected the Defendant’s assertion. However, here the

 Defendant has not even challenged Plaintiff’s claim as not being for a “sum certain”

 or “a sum certain or a sum that can be made certain by computation…” The

 Recommendation subjects Plaintiff’s claim to an unnecessary level of proof not

 required by Franchise Holding II or KPS & Assocs., Inc.


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  V.    CONCLUSION

        For the reasons set forth above, Plaintiff respectfully request that the Court

  REVERSE the Recommendation and order the Clerk to Enter default judgment

  against Defendant and issue an award of damages in the amount of $270,224.90 and

  taxable costs of $4,410.98.

        DATED: Kailua-Kona, Hawaii, May 22, 2020.


                                  CULPEPPER IP, LLLC

                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Plaintiff




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